Case 3:08-cr-00466-L Document 3 Filed 01/28/2008 Page 1 of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, Plaintiff, ) CRIMINAL CASE NO. 09 |V\ y 0 Z‘EL

v. )
) ORDER AND CONDITIONS OF PRETRIAL
Defendant. ) RELEASE: BAIL (18 U.S.C. § 3142(c))

was held to determine pretrial conditions of release of the defendant ursuant to 18 U.S.C. § 3142. The Federal Judge

dete ' ed an unconditional release pursuant to 18 U.S.C.§ 3142(b) is not su icient to assure the appearance of the defendant and the

safety of the comrnunity. Thus, conditions of pretrial release are necessary pursuant to 18 U.S.C.§ 3142(c). Good cause appearing,
IT IS ORDERED that the defendant shall be released subject to the condition that the defendant: (a) not commit a

federal, state or local crime durin the period o release, (b) make all court a pearances and (c) comply with

the conditions itemized below, as indicated by A, in accordance with 18 U. .C.§ 3142(c)(2).'

STANDARD CONDITIONS:

__\_/_ l. restrict travel to Cl San Diego County, ESGuthem District of Califomia, Cl Central District of Califomia,
Cl State of Califomia, C] United States, do not enter Mexico, Cl other:

_\_/_ 2. report for supervision to Pretrial Services Agency (P_SA) as directed by the assigned PSO and pay for the
reasonable costs of supervision in an amount determined by PSA and approved by the Court;

_L 3. not possess or use any narcotic drug or controlled substance, (defined in 21 U.S.C. § 802), without
a lawful medical prescription;

/ 4. not possess any tirearm, dangerous weapon or destructive device during the pendency of the case;
L 5. read, or have explained, and acknowledge understanding of the Advice of Penalties and Sanctions Foim;
_L_ 6. pro\(/ii_de a current residence address and phone number prior to release and keep it current while case
pen ing.
AD TIONAL CONDITIONS:
7. be able to legally remain in the United States during pendency of the proceedings;

_ 8. submit to treatment, and/or testing, as specified by the PSO, for:

Cl drugs or alcohol, and/or Cl psychiatric or psychological counseling;

__ 9. participate in a Global Positioning System (GPS) satellite monitoring program Cl active Cl assive,
including, release of defendant to PSA custody; and El residence restrictions and/or Cl permissive travel for
employment Defendant and sureties are responsible for GPS equipment loss or damage.

Cl submit to supervision and custody of ; and/or
/ |;l remain at a specified residence (curfew) between the hours of P.M. and A.M. daily;
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actively seek and maintain full-time employment, schooling, or combination of both;

. execute a ersonal appearance bond in the amount of $ secured by:
Cl a trust eed to the United States on real estate approved by a F ederal Judge;
Cl the co-signatures of financially responsible (related) adults;
Cl Nebbia Hearing Cl Exam of Sureties U other:

 

 

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g 12. provide the court With: ga cash bond and/or Uexecute a bail bond by an apfproved solvent corporate

surety in the amount of $ that covers ALL conditions o release (not just appearances).
_13. 18 U.S.C.§ 3142(d) hold until ; if no detainer is lodged by then, these conditions take effect.
___ 14. clear all warrants/FTA’s within days of release.

__15. all conditions previously set will remain the same.
_16. other conditions:

   
    
  

DATED-. ' 6 0
cc'. Defendant/Counsel & U.S. Pretrial Services

K: \COMMON\EVERYONE\CRlM-49B. WPD
Form Crim-l¢b(Rev. 6/04)

 

